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                           UNITED STATES DISTRICT COURT
                                   District of Maine

IVAN M. SUZMAN,                               )
                                              )
            Plaintiff                         )
                                              )
v.                                            )        Civil No. 05-192-P-S
                                              )
ADOLPH CRISP, et al.,                         )
                                              )
            Defendants                        )
                                              )

                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE

       The United States Magistrate Judge filed with the Court on July 12, 2006, her Recommended
Decision (Docket No. 49). Defendant Crisp filed his Objection to the Recommended Decision
(Docket No. 54) on July 28, 2006.
       I have reviewed and considered the Magistrate Judge's Recommended Decision, together
with the entire record; I have made a de novo determination of all matters adjudicated by the
Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United
States Magistrate Judge for the reasons set forth in her Recommended Decision, and determine that
no further proceeding is necessary.
       1.      It is therefore ORDERED that the Recommended Decision of the Magistrate
Judge is hereby AFFIRMED.
       2.      Defendant Crisp’s Motions to Quash and Motion to Dismiss (Docket No. 34) are
DENIED. Defendant Crisp’s Motions to Strike and Motion for a More Definite Statement and
Motion to Dismiss for Failure to State a Claim (Docket No. 27) are DENIED. Defendant Crisp
shall file his answer in accordance with the Court’s Order Regarding Order to Show Cause,
which is being simultaneously filed with this Order.
       So Ordered.
                                                       /s/ George Z. Singal
                                                       Chief U.S. District Judge

Dated: August 29, 2006.
